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BEFORE THE JUDICIAL PANEL ONMULTIDISTRICT LITIGA TION

  
     

IN RE BEXTRA AND CELEBREX MARKETING, SALES PRA CTICES AND
PRODUCTS LIABILI.TY LITIGA TION

(SEE ATTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-I)

On Septernber 6, 2005, the Panel transferred 30 civil actions to the United States District Court
for the Northern District of Calit`ornia for coordinated or consolidated pretrial proceedings
pursuant to 28 U.S.C. § 1407. Since that time, one additional action has been transferred to the
Northern Distriet of Caiifornia. With the consent of that court, all such actions have been
assigned to the Honorable Charles R. Breyer.

It appears that the actions on this conditional transfer order involve questions of fact Which are
common to the actions previously transferred to the Northern District of Calii`ornia and assigned
to Judge Breyer.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistriot Litigation,
199 F R. D 425, 435 36 (2001) these actions are transferred under 28 U. S. C § 1407 to the

Northern District of California for the reasons stated 111 the order of September 6, 2005 F.

Supp. ZdWlh (J P M L. 2005), and, with the consent of that court, assigned to the Honorable
Charlos R Breyer.

This order does not become effective until it is filed in the Oftice of the Clerk oi" the United
States District Court for the `Northern District of Calii`ornia. The transmittal of this order to said
Clerk shall be stayed fifteen (15) days from the entry thereof and it any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, the stay Will be
continued until further order of the Panel.

FO R THE PANEL:

will/dasa

Miehael J. Beck
Clerk of the Panel

  

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SCHEDULE CTO-l - TAG-ALONG ACTIONS
DOCKET NO. 1699
IN R`E BEXTRA AND CELEBREX MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION

DIS'I`. DIV. C.A. # CASE CAPTION

/\llABAMA MIDDLE

ALM l 05-500 Robert Webb v. G.D. Searie, LLC, et al.
ALM 2 05-475 Frank Klinger v. G.Dr Searle, LI,C, et al.
ALM 2 05~47() Clarice i-larc v. G.D. Searle, LLC, et al.
ALM 2 05~593 Barbara Clem v. G.D. Searle, LLC, et al.
AI.M 2 05-594 Phyllis MoCord v. G.D. Searle, LLC, et al.

ALABAMA NORTHERN

Al_.N 2 05-896 Earl Darby, Jr. v. Merck & Co., Inc., et aI.
ALN 2 05-]670 Gloria Mau|din v. Ptizer, luc.
ALN 2 05-1 799 Mary Nell McCloud v. G.D. Searle, LLC, et al.

ALN 7 015-1125 Stan Downey, et al. v. Mercl< & Co., lnc., et al.

AI,ABAMA SOUTl'lERN

Al.S l 05-360 CliffNorwood v. G.D. Searle, LLC, et al.
ALS l 05-361 James Alan Be|l v. G.D. Searle, LLC, et al.
ALS l 05-388 iames Rogers Fanning v. G.D. Searle, LLC, et al.
ALS l 05-397 john Searcliftv. G.D. Searle, LLC, et al.
. . . . , . , . Vacated lO/l4/05
ALS l 05-454 Albert Pearson v. G.D, Scarle, LLC, et al.
ALS 2 05-368 Wi|mer Merriweather v. G.D. Searle, LLC, et al.

CAL|FORNIA CENTRAL
CAC 2 05~3851 Robert Schwartz v. G.D. Searle, LLC, et al.
… Vaoated 10/14/05
CAC 5 05~283 Lillie Ba|<er v. Pfizer, Inc.
CALIFORNIA SOUTHERN
CAS 3 05-! 193 Wiliiam Armbruster, et a|. v. Merck & Co., Inc., et al.
CGLORADO
CO l 05-1266 Jannett Graiiam v. Piizer, Inc.

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CT 3 05-l 104

FLOR!DA MII)DLE
FLM 3 05~695
I"`LM 6 05~1174
FLM 8 05-963

FLORIDA SOUTH ERN
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town NORTHERN
IAN 2 05-10;1@,-_,,

Thomas Durioa, et al. v. Pi`czer, lnc.

Mary Ellen Mule v, Pfizcr, lnc.
Tracy Ring v. G.D. Sear|e, LLC, et a|.
Har|ey W. Horne v. Ptizer Inc.

C|ara Fontani|les v. Pfizer, lnc.

Jo Anne Pierce v. G.D. Searle, LLC, et al.

SCHEDULE C'l`O-l - 'I`AG»ALONG ACTIONS MDL»1699 Page 2 oi`/-l

DIST. DIV. C.A. # CASE CAPTION
IOWA SOU'J`HERN
IAS 3 05-»91 Kenneth L. Peterson, et al. v. Pfizer, lnc.
lLLlNOlS NORT| IERN
lLN l 115-2101 Wil|iam Adams, et al. v. I’tizer pharmaceuticals lne.
lLN 1 05-3991 Vernon Shephard v. Ptizer, lnc.
lLLiNOIS SOUTHERN
liz… Vacated 10114/05
ILS 3 05~252 lohn J. Driscoll v. Ptizer, lnc., et al.
1113 3 05-386 Maurice Dulle v. Pharmacia & Upjohn Co., ct al.
lNDlANA SOUTHERN
INS l 05-1 109 Sheet Metal Workers Local No. 20 Welt`are & Benelit liuod, et al. v. Pli‘/.er, lne., et al.
INS 3 05-73 lady G. Engel, etc. v. Merck & Co., lnc., et al.
KANSAS
KS 2 05_2 127 lohn Barker, etc, v. G.D. Searle, LLC, et al.
KENTUCKY WESTERN
KYW 3 051-476 lolin Dcliart v. Pi`izcr, lnc.
LOUIS|ANA WESTERN
… Opposod 10/14/05
… Vacated lO/‘ld/OS
LAW 5 05~715 Lessie McCoy v. Pf`lzer, |nc.
MICHIGAN liAS'I`ERN
MIE 2 05-71656 Frankenmuth Financial Group, et al. v. Pf"lzer, lnc., et al.
MINNESOTA
l\/[N 0 05~803 Rcl)ecca L. Galvan, etc. v. Ptizer, lnc.
MN U 05-| 106 Cheryl M. Snow v. Pfizer, Inc.
M[SSOURI EASTERN
MOE 4 05-720 Wi|lie Baskett v, G.D. Searle, LLC, et al.
MOE 4 05-870 Ciara Jean Hunter v. Merck & Co., lnc., et a|.
MOE 4 05~871 Shirley Mae Nash v. G.D. Searle, LLC, et a|.
MOE 4 05~1162 .loLinda Haugh v. Plizer, inc.
… Opposed 10/17/05
MISSOURl WESTERN
MOW 4 115-489 Marjorie Messick v. G.D. Sear|e, LLC, ct al_
MOW 4 05-496 Nancy lones v. Piizer, lnc.
MOW 4 05-543 Bennie McBroom v. G.D. Searle, LLC, et al.

MISSISSEIJPI `NORTI iERN
MSN 2 05-18 ludy Shearcr, etc. v. Pharmacia, lnc., et al.

NEZW JERSEY
NJ l 05-3471 lolm Markulec v. Pfizer, lnc.
NJ 2 055-2891 Edward 'I`. l<ierstead, et al. v. Ptizer, lnc.

 

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DIST. l)IV. C.A. # CASE CAPTION
NEW YORK EASTERN
NYE 1 01-3441 Alex Cain, et al. v. Merck & Co., lnc., et al.
NYE l 05-3476 Phyllis Weber, et al. v. Piizer, lnc., et al.
NEW YORK SOUT] IERN
NYS 1 05-818 Matthew Cavallo, et a|. v. Pfizer, lnc., et a|.
NYS 1 115-521 0 Mlchele Sharon Cardamone v. Pt`lzer, lnc.
NYS l 05~5211 Cynthia Young v. Ptizer, lnc.
NYS l 05-7587 Kathie Stephens v. Pt`izer, lne.
N\’S | 05w7588 Denny Clubb v. Pfizer, lnc.
NYS l 05-7589 Linda Bentley v. Pt`lzer, lnc.
OH|O NOR'i`l-llERN
Ol'l`N 3 05-7200 Sheila M. Blevins, etc. v. G.D. Scarle, LLC, et al.
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OHS 3 05-195 Geraldine Aellig, ct a|. v. G.D. Searle, LLC, et al.
OHS 3 05-196 lietty Bragg, et al. v. G.D. Searlc:, LLC, et al.
Ol-IS 3 05-197 Diane Ale)cander, et al. v. G.D. Searle, LLC, et al.
OHS 3 05-199 Curtis L. McEldowney, Jr., et al, v. G.D. Searle, LLC, et al.
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OKW 5 05-426 Annie Marie Isaacs v. Piizer, lnc.
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OR 3 115-812 Louis Sneer v. Pt'tzer, lnc.
PENNSYLVANlA EAS'I`ERN
PAE 2 04~5987 Mary Henderson v. Merck & Co., lnc., et al.
PAE 2 05-1908 Maria Camardella, etc, v. Mercl< & Co., Ino., et al.
PAE 2 05-2169 Keith Cardone v. Ptizer, Inc., et al.
PAE 2 05~2170 Jose Martinez v. Pfizer, lnc., et al,
PAE 2 05~2217 Lynnellen Daniels, et al. v. Ptizcr, Inc., et al.
PAE 2 05~2222 Wiilie Brooks, etc. v. Merck & Co., Inc., et al.
PAE 2 05~296')' James F. Adams v. Piizer, lne., et al.
1’AE 2 05-3469 Robert L. Nicho|s, Jr., et al. v. Ptizer, lnc.
SOUTH CAROLINA
SC 2 115-962 Tomm L` Gipe, et al. v. Pfizer, Inc.
'I`ENNESSEE MlDDL.E
TNM 3 05-321 Consuelo Solis~King, v. Pfizer, lnc.
’l`E"XAS EASTERN
TXE 1 05-309 lames A. Trainor v, Pfizer, lnc., et a|.
TXE l 05-348 Raque| M. Jimenez vt Pf'izer, lne,
TXE 1 05'369 Dorothy H. Boudreaux v. Pl'tzer, lnc., et al.
TXB 1 05~378 Juneid N. Majors, etc. v. Ffizer, lnc.
'I`XE l 05-383 Kimberly Morris Blackshire, etc. v. Pf`tzer, lnc.
T"XE l 05-405 Linda Dyer v. Piizer, Inc.
TXE I 05-418 Horace Hebert v. Ptizer, lnc., et al.
TXE 1 05-431 John G. Morphis v. Pi'lzer, lne.
TXE 1 05-456 Kathy Lasdin v. Pt`tzer, lno.
TXE 1 05-459 Jamcs A. Trainor v. Pfizer, lne.
TXE l 05~528 Dora Jcanne Pickens v. Pt`lzer, Inc., et al.
'I`XE l 05~529 Jolm Knight v. Ptizer, lne., et al.
TXE 2 05-154 james Davis, et al. v. Merck & Co., lno., et al.

 

SCl-IEDULE C'i`O~l - TAG-ALONG ACTIONS MDL-1699

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'l`EXAS NOR'I`HERN
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TXN 4 05-383

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TXS 4 05'2417

TEXAS WESTERN
'l`XW | 05-559
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'I`XW l 115-561
'I`XW l 05-562

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Carol Cox v. Pt'lzer, lnc,
Mica Lane Uselton, et al. v. Pt'lzer, lnc.

Deborah D. Crow v. Piizer, Inc., et al.
Erma Smith, et al. v. Pt`izer, lnc., et al.

Winnie Cook, et al. v. Pfizer, Inc.
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Roy Sinclair, cl al. v. Pt'izer, Inc.
Debbria Greer v. Piizcr', lnc.

Billy Bailey, et al. v. 1’t`l;r.er, lnc,

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Barry R. Hudnall, ct a|. v. Pf'lzer, lnc,, et a|.

 

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